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     DOMINIC ARCHIBALD
  15
  16                      UNITED STATES DISTRICT COURT
  17                    CENTRAL DISTRICT OF CALIFORNIA
  18
  19 DOMINIC ARCHIBALD AND                    Case No. 5:16-cv-01128 –AB-SPx
     NATHANAEL PICKET, I, AS
  20 INDIVIDUALS AND AS                       [Honorable Andre Birotte, Jr.]
     SUCESSORS IN INTEREST TO
  21 NATHANAEL H. PICKETT II,                 PROPOSED SPECIAL VERDICT
     DECEASED.                                FORMS
  22
                        Plaintiffs,           FPTC: February 12, 2018
  23                                          Trial: March 6, 2018
                  vs.
  24
     COUNTY OF SAN BERNARDINO,
  25 KYLE HAYDEN WOODS, WILLIAM
     KELSEY, and DOES 2-10,
  26 INCLUSIVE,
                        Defendants.
  27
  28
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   1       PLAINTIFF ARCHIBALD’S PROPOSED SPECIAL VERDICT FORM
   2
   3        QUESTION 1: Did Deputy Woods unreasonably detain Nathanael Pickett,
   4 II?
   5                                        YES __________            NO ___________
   6 If you answered “ yes” to Question 1, please proceed to Question 2.
   7 If you answered “no” to Question 1, please proceed to Question 3.
   8
   9        QUESTION 2: Was the unreasonable detention a cause of Nathanael
  10 Pickett, II’s injury, damage, harm, or death?
  11                                        YES __________            NO ___________
  12 Please proceed to the next question.
  13
  14        QUESTION 3: Did Deputy Kyle Woods use excessive or unreasonable
  15 force against Nathanael Pickett, II?
  16                                        YES __________            NO ___________
  17 If you answered “yes” to Question 3, please proceed to Question 4.
  18 If you answered “no,” please proceed to Question 5.
  19
  20        QUESTION 4: Was Deputy Kyle Woods’ use of excessive or unreasonable
  21 force a cause of Nathanael Pickett, II’s injury, damage, harm, or death?
  22                                        YES __________          NO ___________
  23 Please proceed to the next question.
  24 //
  25 //
  26 //
  27 //
  28

                                               -2-                        5:16-cv-01128 –AB-SPx
                                                            [PROPOSED] SPECIAL VERDICT FORM
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   1         QUESTION 5: Did Deputy Kyle Woods unreasonably delay Nathanael
   2 Pickett, II from obtaining needed medical care?
   3                                         YES __________          NO ___________
   4 If you answered “yes” to Question 5, please proceed to Question 6.
   5 If you answered “no” to Question 5, please proceed to Question 7.
   6
   7         QUESTION 6: Was the unreasonable delay in obtaining needed medical
   8 care a cause of Nathanael Pickett, II’s injury, loss, damages, harm, or death?
   9                                         YES __________          NO ___________
  10 Please proceed to the next question.
  11
  12         QUESTION 7: Was Deputy Kyle Woods deliberately indifferent to the right
  13 to have a familial relationship between Plaintiffs Dominic Archibald and Nathanael
  14 Pickett, I and their son, Nathanael Pickett, II?
  15                                         YES __________          NO ___________
  16 Please proceed to the next question.
  17
  18         QUESTION 8: Did Deputy Kyle Woods violate Nathanael Pickett, II’s rights
  19 under the Bane Act?
  20 If you answered “yes” to Question 3, you must answer “yes” to Question 8.
  21                                         YES __________          NO ___________
  22 Please proceed to the next question.
  23
  24         QUESTION 9:        Did William Kelsey touch Nathanael Pickett, II with the
  25 intent to harm him?
  26                                         YES __________            NO ___________
  27 If you answered “yes” to Question 9, please proceed to Question 10.
  28 If you answered “no” to Question 9, please proceed to Question 11.

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                                                             [PROPOSED] SPECIAL VERDICT FORM
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   1        QUESTION 10: Was William Kelsey’s touching of Nathanael Pickett, II
   2 with intent to harm him a cause of Nathanael Pickett, II’s injury, damage, harm, or
   3 death?
   4                                        YES __________             NO ___________
   5 Please proceed to the next question.
   6
   7        QUESTION 11: Was Deputy Kyle Woods negligent?
   8                                        YES __________             NO ___________
   9 If you answered “yes” to Question 11, please proceed to Question 12.
  10 If you answered “no” to Question 11, please proceed to Question 13.
  11
  12        QUESTION 12:          Was Deputy Kyle Woods’s negligence a cause of
  13 Nathanael Pickett, II’s injury, damage, harm, or death?
  14                                        YES __________             NO ___________
  15 Please proceed to the next question.
  16
  17        QUESTION 13: Was William Kelsey negligent?
  18                                        YES __________             NO ___________
  19 If you answered “yes” to Question 13, please proceed to Question 14.
  20 If you answered “no” to Question 13, please proceed to Question 15.
  21 If you answered “no” to Questions 11 and 13, please proceed to Question 18.
  22 If you answered “no” to Questions 1, 3, 5, 7, 8, 9, 11, and 13, please sign and
  23 return this form.
  24 //
  25 //
  26 //
  27 //
  28

                                               -4-                           5:16-cv-01128 –AB-SPx
                                                               [PROPOSED] SPECIAL VERDICT FORM
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   1        QUESTION 14: Was William Kelsey’s negligence a cause of Nathanael
   2 Pickett, II’s injury, damage, harm, or death?
   3                                          YES __________           NO ___________
   4 Please proceed to the next question.
   5
   6        QUESTION 15: Was Nathanael Pickett, II negligent?
   7                                          YES __________           NO ___________
   8
   9 If you answered “yes” to Question 14, please proceed to Question 15. If you
  10 answered “no” to Question 14, please proceed to Question 16.
  11
  12        QUESTION 16:         Was Nathanael Pickett, II’s negligence a cause of his
  13        injury, damage, harm, or death?
  14                                          YES __________           NO ___________
  15 Please proceed to the next question.
  16        QUESTION 17: What percentage of responsibility for Nathanael Pickett,
  17 II’s death do you assign to the negligent conduct, if any, of the following?
  18                            Deputy Kyle Woods                        _____________%
  19                            William Kelsey                           _____________%
  20                            Nathanael Pickett, II                    _____________%
  21                            TOTAL                                                100 %
  22 Please proceed to the next question.
  23
  24        QUESTION 18: What are Nathanael Pickett, II’s damages for his loss of
  25 enjoyment of life and for his pre-death pain and suffering?
  26                                                   $____________________________
  27 Please proceed to the next question.
  28

                                                 -5-                         5:16-cv-01128 –AB-SPx
                                                               [PROPOSED] SPECIAL VERDICT FORM
Case 5:16-cv-01128-AB-SP Document 125 Filed 02/02/18 Page 6 of 25 Page ID #:2267




   1        QUESTION 19: What are Plaintiff Dominic Archibald’s damages for past
   2 and future loss of Nathanael Pickett, II’s love, companionship, comfort, care,
   3 assistance, protection, affection, society, and moral support?
   4                                  Past:            $ ____________________________
   5
   6                                  Future:          $ ____________________________
   7
   8                                  Total:           $ ____________________________
   9 Please proceed to the next question.
  10
  11        QUESTION 20: What are Plaintiff Nathanael Pickett, I’s damages for past
  12 and future loss of Nathanael Pickett, II’s love, companionship, comfort, care,
  13 assistance, protection, affection, society, and moral support?
  14                                  Past:            $ ____________________________
  15
  16                                  Future:          $ ____________________________
  17
  18                                  Total:           $ ____________________________
  19 Please proceed to the next question.
  20
  21        QUESTION 21: Was the conduct of Deputy Kyle Woods malicious,
  22 oppressive or in reckless disregard of Nathanael Pickett, II’s rights?
  23                                           YES __________              NO ___________
  24
  25 Please sign and date this verdict form and return it to the Court.
  26
  27 Dated:        ____________                        Signed:      _________________
  28                                                                Jury Foreperson

                                                 -6-                           5:16-cv-01128 –AB-SPx
                                                                 [PROPOSED] SPECIAL VERDICT FORM
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   1            DEFENDANTS’ PROPOSED SPECIAL VERDICT FORM
   2
   3        QUESTION 1: Did Deputy Woods unreasonably detain Nathanael Pickett,
   4 II?
   5                                        YES __________            NO ___________
   6 If you answered “ yes” to Question 1, please proceed to Question 2.
   7 If you answered “no” to Question 1, please proceed to Question 3.
   8
   9        QUESTION 2: Was the unreasonable detention a cause of Nathanael
  10 Pickett, II’s injury, damage, harm, or death?
  11                                        YES __________            NO ___________
  12 Please proceed to the next question.
  13
  14        QUESTION 3: Did Deputy Kyle Woods use excessive or unreasonable
  15 force against Nathanael Pickett, II?
  16                                        YES __________            NO ___________
  17 If you answered “yes” to Question 3, please proceed to Question 4.
  18 If you answered “no,” please proceed to Question 5.
  19
  20        QUESTION 4: Was Deputy Kyle Woods’ use of excessive or unreasonable
  21 force a cause of Nathanael Pickett, II’s injury, damage, harm, or death?
  22                                        YES __________          NO ___________
  23 Please proceed to the next question.
  24 //
  25 //
  26 //
  27 //
  28

                                               -7-                        5:16-cv-01128 –AB-SPx
                                                            [PROPOSED] SPECIAL VERDICT FORM
Case 5:16-cv-01128-AB-SP Document 125 Filed 02/02/18 Page 8 of 25 Page ID #:2269




   1         QUESTION 5: Did Deputy Kyle Woods unreasonably delay Nathanael
   2 Pickett, II from obtaining needed medical care?
   3                                          YES __________           NO ___________
   4 If you answered “yes” to Question 5, please proceed to Question 6.
   5 If you answered “no” to Question 5, please proceed to Question 7.
   6
   7         QUESTION 6: Was the unreasonable delay in obtaining needed medical
   8 care a cause of Nathanael Pickett, II’s injury, loss, damages, harm, or death?
   9                                          YES __________           NO ___________
  10 Please proceed to the next question.
  11
  12         QUESTION 7: Did Deputy Woods act with a purpose to harm Nathanael
  13 Pickett, II that was unrelated to a legitimate law enforcement objective?
  14                                          YES __________           NO ___________
  15 Please proceed to the next question.
  16
  17         QUESTION 8: Did Deputy Kyle Woods intentionally interfere with
  18 Nathanael Pickett, II’s civil rights by threats, intimidation, or coercion?
  19
  20                                          YES __________           NO ___________
  21 Please proceed to the next question.
  22
  23         QUESTION 9:         Did William Kelsey touch Nathanael Pickett, II with the
  24 intent to harm him?
  25                                          YES __________             NO ___________
  26 If you answered “yes” to Question 9, please proceed to Question 10.
  27 If you answered “no” to Question 9, please proceed to Question 11.
  28

                                                 -8-                         5:16-cv-01128 –AB-SPx
                                                               [PROPOSED] SPECIAL VERDICT FORM
Case 5:16-cv-01128-AB-SP Document 125 Filed 02/02/18 Page 9 of 25 Page ID #:2270




   1        QUESTION 10: Was William Kelsey’s touching of Nathanael Pickett, II
   2 with intent to harm him a cause of Nathanael Pickett, II’s injury, damage, harm, or
   3 death?
   4                                        YES __________           NO ___________
   5 Please proceed to the next question.
   6
   7        QUESTION 11: Was Deputy Kyle Woods negligent?
   8                                        YES __________           NO ___________
   9 If you answered “yes” to Question 11, please proceed to Question 12.
  10 If you answered “no” to Question 11, please proceed to Question 13.
  11
  12        QUESTION 12:          Was Deputy Kyle Woods’s negligence a cause of
  13 Nathanael Pickett, II’s death?
  14                                        YES __________           NO ___________
  15 Please proceed to the next question.
  16
  17        QUESTION 13: Was William Kelsey negligent?
  18                                        YES __________           NO ___________
  19 If you answered “yes” to Question 13, please proceed to Question 14.
  20 If you answered “no” to Question 13, please proceed to Question 15.
  21 If you answered “no” to Questions 11 and 13, please proceed to Question 18.
  22 If you answered “no” to Questions 1, 3, 5, 7, 8, 9, 11, and 13, please sign and
  23 return this form.
  24 //
  25 //
  26 //
  27 //
  28

                                               -9-                         5:16-cv-01128 –AB-SPx
                                                             [PROPOSED] SPECIAL VERDICT FORM
Case 5:16-cv-01128-AB-SP Document 125 Filed 02/02/18 Page 10 of 25 Page ID #:2271




    1        QUESTION 14: Was William Kelsey’s negligence a cause of Nathanael
    2 Pickett, II’s injury, damage, harm, or death?
    3                                          YES __________         NO ___________
    4 Please proceed to the next question.
    5
    6        QUESTION 15: Was Nathanael Pickett, II negligent?
    7                                          YES __________         NO ___________
    8
    9 If you answered “yes” to Question 14, please proceed to Question 15. If you
   10 answered “no” to Question 14, please proceed to Question 16.
   11
   12        QUESTION 16:         Was Nathanael Pickett, II’s negligence a cause of his
   13        injury, damage, harm, or death?
   14                                          YES __________         NO ___________
   15 Please proceed to the next question.
   16        QUESTION 17: What percentage of responsibility for Nathanael Pickett,
   17 II’s death do you assign to the negligent conduct, if any, of the following?
   18                            Deputy Kyle Woods                      _____________%
   19                            William Kelsey                         _____________%
   20                            Nathanael Pickett, II                  _____________%
   21                            TOTAL                                               100 %
   22 Please proceed to the next question.
   23
   24        QUESTION 18: What are Nathanael Pickett, II’s damages for his loss of
   25 enjoyment of life and for his pre-death pain and suffering?
   26                                                 $____________________________
   27 Please proceed to the next question.
   28

                                                -10-                        5:16-cv-01128 –AB-SPx
                                                              [PROPOSED] SPECIAL VERDICT FORM
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    1        QUESTION 19: What are Plaintiff Dominic Archibald’s damages for past
    2 and future loss of Nathanael Pickett, II’s love, companionship, comfort, care,
    3 assistance, protection, affection, society, and moral support?
    4                                  Past:         $ ____________________________
    5
    6                                  Future:       $ ____________________________
    7
    8                                  Total:        $ ____________________________
    9 Please proceed to the next question.
   10
   11        QUESTION 20: What are Plaintiff Nathanael Pickett, I’s damages for past
   12 and future loss of Nathanael Pickett, II’s love, companionship, comfort, care,
   13 assistance, protection, affection, society, and moral support?
   14                                  Past:         $ ____________________________
   15
   16                                  Future:       $ ____________________________
   17
   18                                  Total:        $ ____________________________
   19 Please proceed to the next question.
   20
   21        QUESTION 21: Was the conduct of Deputy Kyle Woods malicious,
   22 oppressive or in reckless disregard of Nathanael Pickett, II’s rights?
   23                                           YES __________             NO ___________

   24
   25 Please sign and date this verdict form and return it to the Court.
   26
   27 Dated:        ____________                     Signed:        _________________
   28                                                               Jury Foreperson

                                                  -11-                         5:16-cv-01128 –AB-SPx
                                                                 [PROPOSED] SPECIAL VERDICT FORM
Case 5:16-cv-01128-AB-SP Document 125 Filed 02/02/18 Page 12 of 25 Page ID #:2273




    1 PLAINTIFF ARCHIBALD’S RESPONSE TO DEFENDANTS’ PROPOSED
    2 SPECIAL VERDICT FORM:
    3          Plaintiff objects to Defendants’ changes made to Plaintiff’s special verdict
    4     form. Specifically, Plaintiff objects to Defendant changing the standard for the
    5     Fourth Amendment claim. Plaintiff contends that Deputy Woods had time to
    6   deliberate before using force on Mr. Pickett. Further, Defendants’ question for the
    7                         Bane Act is confusing and misleading.
    8
    9
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                                                -12-                        5:16-cv-01128 –AB-SPx
                                                              [PROPOSED] SPECIAL VERDICT FORM
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    1       PLAINTIFF PICKETT’S PROPOSED SPECIAL VERDICT FORM
    2
    3        QUESTION 1: Did Deputy Woods unreasonably detain Nathanael Pickett,
    4 II?
    5                                        YES __________            NO ___________
    6 If you answered “ yes” to Question 1, please proceed to Question 2.
    7 If you answered “no” to Question 1, please proceed to Question 3.
    8
    9        QUESTION 2: Was the unreasonable detention a cause of Nathanael
   10 Pickett, II’s injury, damage, harm, or death?
   11                                        YES __________            NO ___________
   12 Please proceed to the next question.
   13
   14        QUESTION 3: Did Deputy Kyle Woods use excessive or unreasonable
   15 force against Nathanael Pickett, II?
   16                                        YES __________            NO ___________
   17 If you answered “yes” to Question 3, please proceed to Question 4.
   18 If you answered “no,” please proceed to Question 5.
   19
   20        QUESTION 4: Was Deputy Kyle Woods’ use of excessive or unreasonable
   21 force a cause of Nathanael Pickett, II’s injury, damage, harm, or death?
   22                                        YES __________          NO ___________
   23 Please proceed to the next question.
   24 //
   25 //
   26 //
   27 //
   28

                                               -13-                        5:16-cv-01128 –AB-SPx
                                                             [PROPOSED] SPECIAL VERDICT FORM
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    1         QUESTION 5: Did Deputy Kyle Woods unreasonably delay Nathanael
    2 Pickett, II from obtaining needed medical care?
    3                                         YES __________          NO ___________
    4 If you answered “yes” to Question 5, please proceed to Question 6.
    5 If you answered “no” to Question 5, please proceed to Question 7.
    6
    7         QUESTION 6: Was the unreasonable delay in obtaining needed medical
    8 care a cause of Nathanael Pickett, II’s injury, loss, damages, harm, or death?
    9                                         YES __________          NO ___________
   10 Please proceed to the next question.
   11
   12         QUESTION 7: Was Deputy Kyle Woods deliberately indifferent to the right
   13 to have a familial relationship between Plaintiffs Dominic Archibald and Nathanael
   14 Pickett, I and their son, Nathanael Pickett, II?
   15                                         YES __________          NO ___________
   16 Please proceed to the next question.
   17
   18         QUESTION 8: Did Deputy Kyle Woods violate Nathanael Pickett, II’s rights
   19 under the Bane Act?
   20 If you answered “yes” to Question 3, you must answer “yes” to Question 8.
   21                                         YES __________          NO ___________
   22 Please proceed to the next question.
   23
   24         QUESTION 9:        Did William Kelsey touch Nathanael Pickett, II with the
   25 intent to harm him?
   26                                         YES __________            NO ___________
   27 If you answered “yes” to Question 9, please proceed to Question 10.
   28 If you answered “no” to Question 9, please proceed to Question 11.

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                                                              [PROPOSED] SPECIAL VERDICT FORM
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    1        QUESTION 10: Was William Kelsey’s touching of Nathanael Pickett, II
    2 with intent to harm him a cause of Nathanael Pickett, II’s injury, damage, harm, or
    3 death?
    4                                        YES __________             NO ___________
    5 Please proceed to the next question.
    6
    7        QUESTION 11: Was Deputy Kyle Woods negligent?
    8                                        YES __________             NO ___________
    9 If you answered “yes” to Question 11, please proceed to Question 12.
   10 If you answered “no” to Question 11, please proceed to Question 13.
   11
   12        QUESTION 12:          Was Deputy Kyle Woods’s negligence a cause of
   13 Nathanael Pickett, II’s injury, damage, harm, or death?
   14                                        YES __________             NO ___________
   15 Please proceed to the next question.
   16
   17        QUESTION 13: Was William Kelsey negligent?
   18                                        YES __________             NO ___________
   19 If you answered “yes” to Question 13, please proceed to Question 14.
   20 If you answered “no” to Question 13, please proceed to Question 15.
   21 If you answered “no” to Questions 11 and 13, please proceed to Question 18.
   22 If you answered “no” to Questions 1, 3, 5, 7, 8, 9, 11, and 13, please sign and
   23 return this form.
   24 //
   25 //
   26 //
   27 //
   28

                                                -15-                          5:16-cv-01128 –AB-SPx
                                                                [PROPOSED] SPECIAL VERDICT FORM
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    1        QUESTION 14: Was William Kelsey’s negligence a cause of Nathanael
    2 Pickett, II’s injury, damage, harm, or death?
    3                                          YES __________         NO ___________
    4 Please proceed to the next question.
    5
    6        QUESTION 15: Was Nathanael Pickett, II negligent?
    7                                          YES __________         NO ___________
    8
    9 If you answered “yes” to Question 14, please proceed to Question 15. If you
   10 answered “no” to Question 14, please proceed to Question 16.
   11
   12        QUESTION 16:         Was Nathanael Pickett, II’s negligence a cause of his
   13        injury, damage, harm, or death?
   14                                          YES __________         NO ___________
   15 Please proceed to the next question.
   16        QUESTION 17: What percentage of responsibility for Nathanael Pickett,
   17 II’s death do you assign to the negligent conduct, if any, of the following?
   18                            Deputy Kyle Woods                      _____________%
   19                            William Kelsey                         _____________%
   20                            Nathanael Pickett, II                  _____________%
   21                            TOTAL                                               100 %
   22 Please proceed to the next question.
   23
   24        QUESTION 18: What are Nathanael Pickett, II’s damages for his loss of
   25 enjoyment of life and for his pre-death pain and suffering?
   26                                                 $____________________________
   27 Please proceed to the next question.
   28

                                                -16-                        5:16-cv-01128 –AB-SPx
                                                              [PROPOSED] SPECIAL VERDICT FORM
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    1        QUESTION 19: What are Plaintiff Dominic Archibald’s damages for past
    2 and future loss of Nathanael Pickett, II’s love, companionship, comfort, care,
    3 assistance, protection, affection, society, and moral support?
    4                                  Past:         $ ____________________________
    5
    6                                  Future:       $ ____________________________
    7
    8                                  Total:        $ ____________________________
    9 Please proceed to the next question.
   10
   11        QUESTION 20: What are Plaintiff Nathanael Pickett, I’s damages for past
   12 and future loss of Nathanael Pickett, II’s love, companionship, comfort, care,
   13 assistance, protection, affection, society, and moral support?
   14                                  Past:         $ ____________________________
   15
   16                                  Future:       $ ____________________________
   17
   18                                  Total:        $ ____________________________
   19 Please proceed to the next question.
   20
   21        QUESTION 21: Was the conduct of Deputy Kyle Woods malicious,
   22 oppressive or in reckless disregard of Nathanael Pickett, II’s rights?
   23                                           YES __________           NO ___________
   24
   25 Please sign and date this verdict form and return it to the Court.
   26
   27 Dated:        ____________                     Signed:      _________________
   28                                                             Jury Foreperson

                                                 -17-                        5:16-cv-01128 –AB-SPx
                                                               [PROPOSED] SPECIAL VERDICT FORM
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    1         QUESTION 22:
    2         We answer the questions submitted to us as follows:
    3         1. Did KYLE WOODS make threats of violence against NATHANIEL
    4 PICKETT II ?
    5         2. Yes_____ No_____
    6         3. Did KYLE WOOD act violently against NATHANIEL PICKETT II
    7         Yes ____ No_____
    8         If your answer to question 1 or No. 2 is yes, then answer question 4. If you
    9 answered no, stop here, answer no further questions, and have the presiding juror
   10 sign and date this form.
   11         4. Did KYLE WOODS threats cause NATHANIEL PICKETT II’s to
   12 reasonably believe that if he exercised his right to return to his home, KYLE
   13 WOODS would commit violence against him and that KYLE WOODS had the
   14 apparent ability to carry out the threat?
   15         5. Yes ______No________
   16         6. If your answer to question 5 is yes, then answer question 7. If you
   17 answered no, stop here, answer no further questions, and have the presiding juror
   18 sign and date this form.
   19         7. Was KYLE WOODS’ conduct a substantial factor in causing harm to
   20 NATHANIEL PICKETT II?
   21         8. Yes______ No____________
   22         9. If your answer to question 8 is yes, then answer question 10. If you
   23 answered no, stop here, answer no further questions, and have the presiding juror
   24 sign and date this form.
   25         9. What are NATHANIEL PICKETT II’s damages?
   26         a. Future economic loss $_________________________
   27         b. Past noneconomic loss, including [physical pain/mental suffering:]
   28         $ ___________________

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    1        c. Future noneconomic loss, including [physical pain/mental suffering:]
    2        $_______________
    3        d. TOTAL $ ________________________
    4        10. What amount do you award as punitive damages? $
    5        Signed: Presiding Juror
    6
    7        Dated:   ____________           Signed:     _________________
    8                                  Jury Foreperson
    9        QUESTION 23:
   10        We answer the questions submitted to us as follows:
   11        1. Did KYLE WOODS interfere with or attempt to interfere with
   12 NATHANIEL PICKETT’s right to walk on the walkway leading to his residence by
   13 threatening or committing violent acts?
   14        Yes _____No_______
   15        If your answer to question 1 is yes, then answer question 2.
   16        If you answered no, stop here, answer no further questions, and have the
   17 presiding juror sign and date this form.
   18        2. Did NATHANIEL PICKETT II reasonably believe that if he exercised his
   19 right to return to his home by walking on the walkway leading to his residence that
   20 KYLE WOODS would commit violence against him?
   21        Yes______ No_______
   22        If your answer to question 2 is yes, then answer question 3.
   23        If you answered no, stop here, answer no further questions, and have the
   24 presiding juror sign and date this form.
   25        3. Was KYLE WOODS’ conduct a substantial factor in causing harm to
   26 NATHANIEL PICKETT II?
   27        Yes______ No_______
   28        If your answer to question 3 is yes, then answer question 4.

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    1        If you answered no, stop here, answer no further questions, and have the
    2 presiding juror sign and date this form.
    3        4. What are NATHANIEL PICKETT II’s damages?
    4        [a. Past economic loss
    5        [lost earnings $ ]
    6        [lost profits $ ]
    7        [medical expenses $ ]
    8        [other past economic loss $ ]
    9        [a. Total Past Economic Damages: $ ]
   10        [b. Future economic loss
   11        [lost earnings $ ]
   12        [lost profits $ ]
   13        [medical expenses $ ]
   14        [other future economic loss $ ]
   15        [b. Total Future Economic Damages: $ ]
   16        [c. Past noneconomic loss, including [physical
   17        pain/mental suffering:] $ ]
   18        [d. Future noneconomic loss, including [physical
   19        pain/mental suffering:] $ ]
   20        [d. TOTAL $
   21        [Answer question 5.
   22        5. What amount, if any, do you award as a penalty against KYLE WOODS?
   23        Answer question 6.
   24        6. What amount do you award as against KYLE WOODS? As punitive
   25 damages
   26        ______________________
   27 //
   28 //

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    1        QUESTION 24
    2        We answer the questions submitted to us as follows:
    3        1. Did COUNTY of SAN BERNARDINO interfere with or attempt to
    4 interfere with NATHANIEL PICKETT’s right to walk on the walkway leading to
    5 his residence by threatening or committing violent acts?
    6        Yes _____No_______
    7        If your answer to question 1 is yes, then answer question 2.
    8        If you answered no, stop here, answer no further questions, and have the
    9 presiding juror sign and date this form.
   10        2. Did NATHANIEL PICKETT II reasonably believe that if he exercised his
   11 right to return to his home by walking on the walkway leading to his residence that
   12 COUNTY of SAN BERNARDINO would commit violence against him?
   13        Yes______ No_______
   14        If your answer to question 2 is yes, then answer question 3.
   15        If you answered no, stop here, answer no further questions, and have the
   16 presiding juror sign and date this form.
   17        3. Was COUNTY of SAN BERNARDINO’s conduct a substantial factor in
   18 causing harm to NATHANIEL PICKETT II?
   19        Yes______ No_______
   20        If your answer to question 3 is yes, then answer question 4.
   21        If you answered no, stop here, answer no further questions, and have the
   22 presiding juror sign and date this form.
   23        4. What are NATHANIEL PICKETT II’s damages?
   24        [a. Past economic loss
   25        [lost earnings $ ]
   26        [lost profits $ ]
   27        [medical expenses $ ]
   28        [other past economic loss $ ]

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    1        [a. Total Past Economic Damages: $ ]
    2        [b. Future economic loss
    3        [lost earnings $ ]
    4        [lost profits $ ]
    5        [medical expenses $ ]
    6        [other future economic loss $ ]
    7        [b. Total Future Economic Damages: $ ]
    8        [c. Past noneconomic loss, including [physical
    9        pain/mental suffering:] $ ]
   10        [d. Future noneconomic loss, including [physical
   11        pain/mental suffering:] $ ]
   12        [d. TOTAL $
   13        [Answer question 5.
   14        5. What amount, if any, do you award as a penalty against COUNTY of SAN
   15 BERNARDINO?
   16        Answer question 6.
   17        6. What amount do you award as against COUNTY of SAN BERNARDINO?
   18
   19        QUESTION NO. 25
   20        1. Did WILLIAM KELSEY interfere with or attempt to interfere with
   21 NATHANIEL PICKETT’s right to walk on the walkway leading to his residence by
   22 threatening or committing violent acts?
   23        Yes _____No_______
   24        If your answer to question 1 is yes, then answer question 2.
   25        If you answered no, stop here, answer no further questions, and have the
   26 presiding juror sign and date this form.
   27
   28

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    1        2. Did NATHANIEL PICKETT II reasonably believe that if he exercised his
    2 right to return to his home by walking on the walkway leading to his residence that
    3 WILLIAM KELSEY would commit violence against him?
    4        Yes______ No_______
    5        If your answer to question 2 is yes, then answer question 3.
    6        If you answered no, stop here, answer no further questions, and have the
    7 presiding juror sign and date this form.
    8        3. Was WILLIAM KELSEY’s conduct a substantial factor in causing harm to
    9 NATHANIEL PICKETT II?
   10        Yes______ No_______
   11        If your answer to question 3 is yes, then answer question 4.
   12        If you answered no, stop here, answer no further questions, and have the
   13 presiding juror sign and date this form.
   14        4. What are NATHANIEL PICKETT II’s damages?
   15        [a. Past economic loss
   16        [lost earnings $ ]
   17        [lost profits $ ]
   18        [medical expenses $ ]
   19        [other past economic loss $ ]
   20        [a. Total Past Economic Damages: $ ]
   21        [b. Future economic loss
   22        [lost earnings $ ]
   23        [lost profits $ ]
   24        [medical expenses $ ]
   25        [other future economic loss $ ]
   26        [b. Total Future Economic Damages: $ ]
   27        [c. Past noneconomic loss, including [physical
   28        pain/mental suffering:] $ ]

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    1        [d. Future noneconomic loss, including [physical
    2        pain/mental suffering:] $ ]
    3        [d. TOTAL $
    4        [Answer question 5.
    5        5. What amount, if any, do you award as a penalty against WILLIAM
    6 KELSEY?
    7        Answer question 6.
    8        6. What amount do you award as against WILLIAM KELSEY as punitive
    9 damages?
   10        $_______________________
   11
   12 PLAINTIFF ARCHIBALD’S RESPONSE TO PLAINTIFF PICKETT’S
   13 PROPOSED VERDICT FORM
   14        Plaintiff Archibald objects to Plaintiff Pickett’s Question Nos. 22-25.
   15 Questions 22 and 23 are cumulative of Question 8 and confusingly worded and
   16 formatted. Question 24 is inapplicable because the County of San Bernardino is not
   17 being sued separately under the Bane Act but rather was named under the concept of
   18 vicarious liability. Question 25 is inapplicable because this Court has dismissed Mr.
   19 Kelsey from the Bane Act in its January 16, 2018 Order.
   20
   21 DEFENDANTS’ RESPONSE TO PLAINTIFF PICKETT’S PROPOSED
   22 VERDICT FORM (SPECIAL JURY INSTRUCTIONS)
   23        Defendants objects to Plaintiff Pickett’s proposed verdict form; which he also
   24 refers to Special Jury Instructions. The verdict form and/or special jury instruction
   25 are cumulative confusingly worded and formatted. They are also inapplicable to the
   26 County of San Bernardino because it is not being sued separately under the Bane
   27 Act but rather was named under the concept of vicarious liability. Furthermore, this
   28

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    1 Court has dismissed Mr. Kelsey from the claims under section 1983 and the Bane
    2 Act in its January 16, 2018 Order.
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